Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 1 of 15 Page ID
                                  #:6202




                      EXHIBIT A
  Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 2 of 15 Page ID
                                    #:6203




StatementDate: 06/08/14                                         Previous Balance                            0.00
Page 1 of 2 for:                                                Payments                               -46,47
DONEYDA PEREZ                                                  Current Charges & Fees                   66.99
For Sarvill9 at.                                                Adjustments !k Credits                 -11.00
                                                                To1ms                                       0.48
                                                                Amount Duo                              $0.00

Activity
Start     End        Description                                                                      Amount
                     Previous Balance                                                                       o.oo
08/06                Payment, Thank You - VISA                                                         -46.47

                      CurNnt Ch11rges for Sen,h:e Period 06/06/14 • D7/04/ 14                                                    Comun(quete coo oosotro1 Uamando al
06/06     07/04      OPTIMO        MAS Monthly                                                          60.99                    1..888-388-66:Zl
                     Fees
06/06                PrlmorvTV                                                                              6.00                 En esu momeoto no hay saldo
                     A~ull1menu & Credits                                                                                        pendiente de pago.
06/06     07/04      OPTIMO MAS 36 Mo Instant Rebate:Mos 13--36                                                                  E!rte estado de cuenta es solo para su
                                                                                                            -6.00 Credit
08/06                Primary TV Free                                                                        •6.00 Credit         inform.ecioo.

                                                                                                            0.48                 Invite Amigos a DIRECTV y J\Jlorre
                                                                                                              .00                EUos se illscribeu en el SSS-566-4388
                                                                                                                                 y ud. gaaa $ l 00 de credito 1m la factura.
                                                                                                                                 Solo 11\l8vos clieute~. Hay condicionos.
Reduua la cantidad de papel qull reclhe por correo - jobt.enga esta factum
electr6aicamento! Para cambier a faoturaci6n electronics. solo ntilice 11u informacion de
cuonta indic111la arriba para rogistrarse en DIRECTV.com, luego sig11 las indicacioaes faciles
de "Go PapetlMs". Su factura menrual le sen\ eoviada por ~ eloctr6uico y podra
pagarla por Cutlllllet 011 cual.quier t0.0meoto.




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                                                                                                                                                                               '




                                                                                                                                                             1234




                                                                              DATE DUE          ACCOUNT NUMBER                  AMOUNT DUE             PAYMENT ENCLOSED
                                                                         No Payment Due             70711709                   No Payment Due
 C    Note my change of address on raver.ia side.                                  (714) 875-3829
     DO NOT WRll'f OTIIER COMMENTS ON THIS FORM
                                                                                                       CONFIRMACl6N de su suscripciiln al Pago Automatica de
                                                                                                       Factura con TARJETA DE CR~DITO. El pago se cobro en esta
     #BWNHPWR                                                                                          facha de racturacion. Ver arriba.
     #PGPGAAGPIS#
     AB 02 001557 26998 B 9 B                                                                          DIRECTV
     DONEYDA PEREZ                                                                                     POBOX64000
                                                                                                       LOS ANGELES CA 90064-1000



     11hll 111 1111 11I' 11 1II, 1l11 1 11 •1 1h1 11 1ll 11 1II•1 11 111, I'' 11 11•h•
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Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 3 of 15 Page ID
                                  #:6204




                     EXHIBIT B
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 4 of 15 Page ID
                                  #:6205




                                                                             80 North Main St., P.O. Box 351
    Attomeys and Counselors at Law                                           Ellenville, NY 11428
                                                                             Telephone (845) 647.8509
                                                                             Facsimile (845) 647-6277
                                                                             Email: Assistant@Signallaw.com

    *Wayne D. Lonstein                                                       Christopher Hufnagel
    Julie Cohen Lonstein

    •also admitted in NJ. PA &MA
                                             Jwie 26, 2015




    Oneida's Beauty & Barber Salon
    Attn: Doneyda Perez
    12342 Harbor Blvd
    Oarden Grove, CA 92840




                                                     ,-\TTOk.N ~y WORK            '- .     '.       .   ..
                                                     PURPOSES ONI.Y- N                                       ti


    Re:      DIRECTV, LLC v. Oneida's Beauty & Barber Salon, et al.
             Our File No. HS15-18CA-05
             Unauthorized Exhibition of DIRECTV Programming
             Date of Audit: April 8, 2015


    Dear Ms. Perez,

    In furtherance of today's correspondence with our office, I have attached the proposed Settlement
    Agreement. This Agreement may not be changed without written approval.

    This settlement is contingent upon funds being received on or before 07/06/2015, in accordance with the
    agreement tenns. Failure to receive funds timely and in full will result in abandonment of the settlement
    and our client retains the right to pursue the claims for their full entitlement under the law, including
    attorney's fees.

    Kindly return the ex.ecuted Settlement Agreement via fax at 845-647-6277 or by email to
    llSSistant@siu,,1allaw.corn and the payment of$S00.00 on or before 07/06/2015. You may call the office
    to make a debit or credit card payment over the phone or submit payment using an alternative method,
    given below:

          1. Wire Funds: please see attached wiring instructions

          2. ACH Oirect Debit: Please see authorization form attached to fill out and return with a copy of a
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 5 of 15 Page ID
                                  #:6206




             void check by fax or email 110 fmer rlum 5:00pm E.S T, m least I bysiness day prior ro vow·
             -~chetluled p(Mtu.mr due dare.

        3. Credit Card: please go to the following secure link to complete the transaction:

           \ltps://p.f!YJ ,llli!SIJP.O .co vb 1/dtvllo (note: this website does not accept American Express
           cards.)
        4. American Express: please see authori:zation fonn attached for you to fill out and return by fax or
           email. Once you have returned the authorization form, please contact our office to make the
           payment.

        5. Certified Checks: to be made payable to: /,ONSTEJN LAW OFf.1 ,E, P.C.d:1.s ,uome .-~~-

        6.   PayPal: please go to www. a       I.co 1l and send payments to pay(@.signallnw.com.

    Upon receipt of payment in full, a letter stating the file is closed along with the original fully executed
    Agreement will be sent to you after all tenns of the Agreement are fulfilled.

    Thank you for your assistance and courtesies herein.

    Warm Regards,

    Angelina Mullen, Legal Assistant
    Lonstein Law Office, P.C.
    80 N. Main St; P.O.,Box 351
    Ellenville, NY 12428
    amulle11@signnl lnw.co111
    Office: 845-647-8509 Ext. 319
    Fax: 845-647-6277
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 6 of 15 Page ID
                                  #:6207




                                           SETTLEMENT AGREEMENT

                     IT IS HEREBY STIPULATED AND AGREED by and between the attorneys for
     DIRECTV, LLC. (the "Claimant"), and Oneida's Beauty & Barber Salon located at 12342 Harbor
     Blvd, Garden Grove, CA 92840, aod its owoers, shareholders, employees and agents (the
     "Establishment"), that all claims resulting from Establishment's unauthorized commercial misuse and
     display of DIRECTV Programming Services as of the date herein, are settled and the Establishment
     agrees to pay the sum of$5,000.00 in full settlement and satisfaction of this matter:


             l . Said sum shall he paid as follows :
                     (a) The full sum of $5,000.00, by an initial payment in the amount of $500.00 on or
                     before July 6, 2015 via certified funds, credit card, direct account debit (ACH), or wire
                     transfer to th0 escrow account for the attorney for the claimant.
                     (b) The remainder sum of$4,500.00 shall be paid to Lonstein Law Office, P.C., as
                     attorney for DIRECTV, by recurring payments in the amount of $500.00 via certified
                     funds, credit card, direct account debit (ACH), wire transfer or PayPal for a period of 9
                     installments on day 6 of each consecutive month.
                     (c) If paying by wire, wiring im1tructions are attached.
                     (d) For payments via ACH direct debit, attached please find payment authorization for
                     your client to fill out and return.
                     (e) If paying by credit card, please go to the following secure link to complete the
                     transaction;
                     https://pay l.plugnpay.com/bpl/dtvllo (Note: this website does not accept American
                     Express cards)
                     (f) If paying by American Express, please see authorization form attached for you to fill
                     out and return by fax or email. Once you have returned the authorization form, please
                     contact our office to make the payment.
                     (g) lf paying by certified check, payment shall be made payable to LONSTEIN LAW
                     OFFICE, P .C., as attorney, at 80 North Ma.in St, P.O. Box 351, Ellenville, New York
                      12428 and is subject to collection.
                     (h) If paying by PayPal, go to w\ \ .preypal.1:om and send payment to
                     g:i~(a1:;1g11. l l 1\ .co 111


             2. INTENTIONALLY OMlTTED.
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 7 of 15 Page ID
                                  #:6208




             3. For the sole consideration of the payment of$5,000.00, Claimant hereby release~
     Establishment, its owners, employees and agents and the Establishment hereby releases Claimant, its
     agents, parents, subsidiaries, predecessors, successors, and attorneys from any and all liabilities, actions,
     causes of action, suits, debts, dues, sums of money, account{,, bonds, executions, claims and/or demands,
     whether fixed or contingent, known or unknown, and/or of any kind and/or nature whatsoever, which
     either Claimant or Establishment or its owners ever had, now has or may have, specifically limited to any
     and all claims which were and/or could have been asserted herein. The Parties agree and understand that
     this Agreement is a Release of a claim brought against Oneida's Beauty & Barber Salon or any of its
     owners, sharehoJd·ers, employees, and agents for the commercial misuse of DIRECTV Programming
     and DOES NOT INCLUDE or contemplate any release of obligations under this Agreement or claims of
     DIRECTV that are predicated upon Oneida's Beauty & Barber Salon or any of its owners,
     shareholders, employees, or agents failure to pay any sum due to DrRECTV pursuant to any existing
     subscription agreement(s) with DIRECTV in existence as of the date of this agreement.


             4. The Establishment hereby expressly warrants and represents that:

                      A.      The only consideration for executing this Agreement and for paying the total sum
                      of $5,000.00, is DI.RECTV's agreement to resolve the Dispute;


                      B.      No promise, warranty, or representation of any kind has been expressed or implied
                      to the Establishment by Claimant, or by anyone acting for it, except as is expressly stated
                      in this Agreement. Furth~r, the Establishment is not relying upon any advice of the
                      Claimant, or representatives, as to the legal consequences of this Agreement.


                      C.      The Establishment acknowledges displaying DIRECTV Programming in the
                      establishment. Establishment recognizes that they have no lawful right to the exhibition
                      of DIRECTV programming within Establishment which is not authorized on customer's
                      commercial DIRECTV account.


                      D.      The Establishment acknowledges that this Agreement creates no warranty or
                      representation of services on behalf of the Claimant as the provision of any and all services
                      is governed by service agreements between Claimant and its customers, as modified from
                      time to time.
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 8 of 15 Page ID
                                  #:6209




             5.   Each of the parties to this Agreement acknowledges that they have been informed of the
     provision of California Civil Code§ 1542, and each party expressly waives and relinquishes all rights
     which it or he had, has, may have had under that section, which reads as follows:


                     ·•A general release does not extend to claims which the creditor does uot know or suspect
                     to exist in his or her favor at the time of executing the release, which if known by him or
                     her must have materially affected his or her settlement with the debtor."


             The parties to this Agreement acknowledge that they are aware that they may hereafter discover
     facts or law different from m· in addition to those which they know or believe to be true with respect to
     the subject matter of this Agreement, or that they may have claims which, at the time of the execution of
     this Agreement, they have no knowledge or suspicion, or that the loss or damage presently known or
     claimed may be or become greater than they now expect or anticipate. The parties agree that their
     releases shall be and remain in effect at to the matters released, notwithstanding such unknown or
    unanticipated results, or such additional facts or law.


             6. In the event that the Establishment defaults in the tenns of this Agreement by failing to make
     any payment by the dates specified in paragraph I above, Claimant may, without notice or demand,
     declare the entire principal swn then unpaid immediately due and payable. In the case of such a default,
    this settlement Agreement will be abandoned in favor of seeking the full amount of statutory damages if
     not cured after ten (10) days written notice to establishment of the breach with an opportunity to cure.
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 9 of 15 Page ID
                                  #:6210




             7. The signatories to tbis Agreement speclficaUy represent thatthey have full authority to enter
     into same. Furthennore, both Claimant and Establishment have had        the opportunity to seek the benefit of
     legal counsel to explain the contents, terms, provisions, or effects of this Agreement and, whether or not
     either party bas taken advantage of that opportunity, both parties are satisfied that Ibey fully understand the
     provisions of this Agreement and its eff~ts.


     AGREED to this_ day of the month of                                   , 2015.

     DIRECTV, LLC.                               Oneida's Beauty & Barber Salon



     By:                                         By: _   _    _   _
       Julie Cohen Lonstein, Esq.                Print Name:
       Lonstein Law Office, P.C.                    Oneida's Beauty & Barber Salon
       Attorneys for DirecTV                        12342 Harbor Blvd
       Office and P.O. Address                      Garden Grove, CA 92840
       80 N. Main St: P.O. Box 351
       Ellenville, New York 12428
       Telephone: (845) 647-8500
        Email: ·uli<.:: :;i1m Haw.co m
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 10 of 15 Page ID
                                  #:6211




                      EXHIBIT C
      Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 11 of 15 Page ID
                                        #:6212



stomerCopy                                               https://secure.paymentech.oom/managcr/receiptAction.do?subiwtion•gen••,




                                                                              Tann ID: 001


                                           Sale .. Approved

                       Date                07/02/15                          Time 13:03:47
                       Method of Payment   V11a
                       Entty Method        Manual
                       Account#            XXXXXXXXXX)OI

                       Order ID            HS1518CA05
                       Approval Code       1408-36
                       AMevRt              500.00




                                                  Customer Copy




,fl                                                                                                             112no1s 1:03 PM
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 12 of 15 Page ID
                                  #:6213




                                                                              30 North Main Str~t, P.O. Box 3S I
    Attorneys and Counselors at L11w                                          Ellenville. NY 12428
                                                                              Telephone (845) 647-8509
                                                                              Facsimile (845) 647-6277
                                                                              Email: Assistant@Signallaw.com
    -•Wayne
         - ---      - - - - - - --- - - - -
            D. Lonstein
                                                                       ·- ----     ---·- - - --
                                                                               Christopher Hufnagel
    Julie Cohen Lonstein

     •also admi~dinNJ, PA &MA

                                             August 7, 2015

    Oneida's Beauty and Barber Salon
    Attn: Doneyda Perez
    12342 Harbor Blvd
    Garden Grove, CA 92840

     Re:     DIRECTV, LLC v. Oneida's Beauty & Barber Salon. et al.
             Our File No: HS15-18C,A-05
             Unauthorized Exhibition of DIRECTV Programming
             Date of Audit: April 8, 2015

     Dear Ms. Perez:

     Please find enclosed credit card receipt from today's transaction, American Express Authorii.ation fonn,
     aod your billing schedule for subsequent monthly payments. Your next payment of$500.00 is due on or
     before 09/06/2015.

     Wann Regards,

     Angelina Mullen, Legal Assistant
     Lonstein Law Office, P.C.
     80 N. Main St; P.O. Box 351
    Ellenville, NY 12428
    1unullcn@sjgnallaw.com
    Office: 845-647-8509 Ext. 319
    Fax: ·845-64 7•6277

    **** CONFIDENTIALITY NOTlCE** 0
    The info1mation contained in this letter is privileged and confidential; intended only for the use of the
    addressee(s).
    If the reader of this message is not the intended recipient, you are hereby notified that any dissemination,
    copying or distribution of this communication is strictly prohibited. If you have received this
    communication in error, immediately notify the undersigned and you are instructed to delete all
    electronic copies and destroy any printed copies.                                   '
      Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 13 of 15 Page ID
                                        #:6214


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 stomerCopy                                              https://secure.paymentect,.u.111111muia~«1TC0C11ptAC:UOn.do?eubection'"'pn.,.




                                                                               Term ID: 001

                                            Sale - Approved
                        Date                08/07/15                          Tm• 14:33:26
                        Method of Payment   VJea
                        El\try Meth6<i      Manual
                        Acoount#            xxxxxxxxxxxx,81a
                        Order ID            HS1518CA06
                        Approval COde       123634
                        Amount              800.00




                                                Customer Copy




oft                                                                                                                 ennot.s 2:33 Pl
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 14 of 15 Page ID
                                  #:6215




                   AUTHORIZATION TO USE AMERICAN EXPRESS CARD



     I,   Tu1./e~d<l     (pnnt name)
                                       f e-re    Z,_ _ _ ,   hereby authorize Lonstein Law Office, p .c. to

     use my American Ex.press Card as the method of payment for the resolution of the legal claims

     against me. By my signature below, I acknowledge that the payment options specified below

     have been authorized by me.


     Please check the One Time payment box if you are making a single payment. If you are making
     monthly payments, please check the Recurring payments box.

     D One Time payment in the amount of$ _ _ _____ __                   _

     D Recurring payments in the amount of$


     Signature of Card Holder: _ _ __ _ _ _ __ _ _ _ _ __

     Print Name:
                   ---------------
     Date:
             ---
     Total Amount to be Paid: $
                                  ---------
     Card Number:
                     --------
     LLOFile#: - --        - -- ----

     After signing, please scan and email to! a sis ta nt@s ig nal la w.com

     Or

     Fax to: 845-647-6277
Case 8:16-cv-01440-JLS-DFM Document 181-1 Filed 01/16/20 Page 15 of 15 Page ID
                                  #:6216

                                                                                                                                    ..)




                                                                                                      Statement
                                      LDN!iTEINIAWOFFICE. P.C.                                                       0/1/2010


                                                   Ellenville, NY 12428
                                                        PO Bo>< 351


                                                        845-647-8509

     To:

    Oneida'S Beauty & Barber Salon
    12342 Harbor Blvd
    Carden Ciroue, CA 92840                                            Email us at: assistant@sjgnallaw.com


                                                                          Curren_t Payment Due   I    $   0.00


     Date                                   Transaction                                 Amount                   Balance

  04/30/2015       Balanee forward
                                                                                                                       ·-0 .00-
  07/02/20l5       INV #17835 . Due 07/02/2015.                                                  500.00                    500.00
                   --- settled Case $500.00
  07/02/2015       PMI Oneida's Beauty & Barber Salon                                        -500.00                         0.00
  08/06/2015       INV #17836. Due 08/06/2015.                                                500.00                       500.00
                   --Payment # 1 $500.00
  08/07/2015       PMT Oneida's Beauty & Barber Salon                                        -500.00                         0.00
  09/06/2015       INV #17837. Due 09/06/2015.                                                500.00                       500.00
                   --- p ayrnent # 2 $500.00
   10/06/2015      INV #17838. Due l0/06/2015.                                                   500.00                1,000.00
                   --- payrnent # 3 $S00.00
   11/06/2015      INV #17839. Due 11 /06/201S.                                                  500.00                1,500.00
                   --- p ayment # 4 $500.00
   12/06/2015      INV #17840. Due 12/06/2015.                                                   500.00               2,000.00
                   --Payment # S $500.00
                                                                                  1,
  O1/06/2016       INV #17841. Due 01/06/2016.                                                   500.00               2,500.00
                   --- payinent # 6 $500.00
  02/06/2016       INV #17842. Due 02/06/2016.                                                   500.00                3,000.00
                   --- p ayment # 7 $500-00
  03/06/20 I 6     INV # 17843. Due 03/06/2016.                                                  500.00                3,500.00
                   --Payment # 8 $500.00
  04/06/2016       1NV #17844. Due 04/06/2016.                                                   500.00                4,000.00
                   --- p ayrnent # 9 $500.00




Please call the office to pay by phone at (845)647-8509, or with any questions regarding your
                                                                                                           Outstanding
current balance.
                                                                                                             Balance
                                                                                                                                -
*In the event you already have an automatic payment plan set up, please disregard the
outstanding balance as specified on this statement.                                                          $4,000.00
